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                       EXHIBIT 6
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                                                                                                                                           USOO6871264B2

(12) United States Patent                                                                                (10) Patent No.:                                   US 6,871,264 B2
       Soltis, Jr.                                                                                       (45) Date of Patent:                                        Mar. 22, 2005

(54) SYSTEM AND METHOD FOR DYNAMIC                                                                          6,381,682 B2                        4/2002 Noel et al. .................. 711/153
        PROCESSOR CORE AND CACHE                                                                            6,438,653 B1 * 8/2002 Akashi et al.           ... 711/128
        PARTITIONING ON LARGE-SCALE                                                                         6,460,122 B1 10/2002 Otterness et al. ........... 711/154
        MULTITHREADED, MULTIPROCESSOR                                                                       6,604,174 B1                     8/2003 Dean et al. ................. 711/131
        INTEGRATED CIRCUITS                                                                                 6,681,296 B2                     1/2004 Liao et al. .................. 711/129

(75) Inventor: Ryd C. Soltis, Jr., Fort Collins, CO                                              * cited by examiner

(73) Assignee: Hewlett-Packard Development                                                       Primary Examiner Mano Padmanabhan
                      Company, L.P., Houston, TX (US)                                            ASSistant Examiner Pierre M. Vital
(*) Notice:           Subject to any disclaimer, the term of this                                (57)                                            ABSTRACT
                      patent is extended or adjusted under 35
                      U.S.C. 154(b) by 194 days.                                                 A processor integrated circuit capable of executing more
                                                                                                 than one instruction Stream has two or more processors.
(21) Appl. No.: 10/092,645                                                                       Each processor accesses instructions and data through a
(22) Filed:     Mar. 6, 2002                                                                     cache controller. There are multiple blocks of cache
                                    O    O                                                       memory. Some blocks of cache memory may optionally be
(65)              Prior Publication Data                                                         directly attached to particular cache controllers. The cache
        US 2003/0172234 A1 Sep. 11, 2003                                                         controllers access at least Some of the multiple blocks of
               7                                                                                 cache memory through high Speed interconnect, these
(51) Int. Cl." ................................................ G06F 12/08                       blocks being dynamically allocable to more than one cache
(52) U.S. Cl. ....................... 711/122; 711/123; 711/129;   711/143                       controller. A resource allocation controller determines which
(58) Field of711/129,
               Search133,
                       ......................... 711/118-120, 122,
                             143, 153-154, 173; 712/13-15;
                                                                                                      S.S. NS, in RSR
                                                                 709/226, 104                    controllers and cache memory blocks are associated with
                                                                                                 Second level cache, each processor accesses the Second level
(56)                     References Cited                                                        cache controllers upon missing in a first level cache of fixed
                                                                                                 size.
                  U.S. PATENT DOCUMENTS
       5,809,537 A * 9/1998 Itskin et al. ................ 711/146                                                                11 Claims, 3 Drawing Sheets


                                                                                                                                     /*
                                             Processor                Processor                      Processor                     Processor

                                                     Yoo                           Y100                            00                            100
                                                                                                                                                  02
                                                               102                         O2                           102                       O
                                             First Lewe               First ewel                     First Lewe                    First level
                                               Cache                    Cache                          Cache                         Cache

                                                               10                        110                       110                           10
                                              Secord                   Second                         Second                        soon?
                                               level                      level                        level                         level
                                              Cache                     Cache                         Cache                         Cache
                                              Conto                     Control                       Control                       Cotro:
                                                                 20
                                                                              High Speed interconnect



                                             9 a.      iss a          9x a.       gs a          so
                                                                                                cs         9& a.              s             9>
                                             3:        S:             5:          5:            5;         St                 s             s
                                             SO        Sc             SO          SO            SO         SO                 SO            SC
                                                Y22 24                  S12, S2, N22 Y 24                                             22          24
                                                                                                 132       Allocation Control
                                                       Memory interface
                                                                                                            Partition Control               130

                                                                          140
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                                                                                           98




         Processor                  Processor                                           Processor
     i

                   Yoo                         Y100                      100                         E.
                         102                       102                         102
         First Level                First Level            First Level                 First level
           Cache                      Cache                  Cache

                         110                      110                      10                        10
             COO
           Level                                               Level
          Cache                                             Cache
          Control                    Control                Control
                               20

                                        High Speed interconnect




                                             22    24        122                                     124
                                                         132       Allocation Control
                    Memory interface
                                                                   Partition Control            130

                                       140
                                                   Figure 1
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                                              198                                           19
       Cache Data Ram                   Cache Data Ram                     215

            TAG Ram                       TAG Ran                                Upper
                                                                                 Level
            Interconnect                  interconnect                          Memory
              interface                     interface                           Interface
                                                                         206
                                                                                            55
                                                                                            Sg
                                                                                            K
                                                                                                 3
            222 220                                           2                                       230

                                             5                     218
                                                                            Hit logic S.
        * ||216
           Z
                                            8C)      E3 ||216              Writeback 8
                                                                                            C
               ()                             s              2214              Queue     2
                    214                                  s   5                 E
                                                                               onitor (5
        O           219                              O             219          OWer
                              Level                                            Level            212
                            Interface                        220           interface
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                                                          -300
                        Monitor Cache
                         Performance

                          Determine
                        Desired Cache
                          Allocation


                      Configure Partition
                       Allocation Table




                       Partition System:
                       Stop OS in Each           08
                            Partition

                            Allocate
                         Processors to           10
                           Partitions


                       Allocate Allocable
                       Cache Blocks to
                         Processors (&
                           partitions)

                        Restart or Boot          14
                          OS in Each
                            Partition

                        Maintain Billing         16
                       Records of Time,
                         Partitioning, &
                       Cache Allocation
                                                  Fig U6 3
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                                                     US 6,871,264 B2
                              1                                                                    2
      SYSTEMAND METHOD FOR DYNAMIC                                  Sor is capable of dispatching multiple instructions in Some
         PROCESSOR CORE AND CACHE                                   cycles, are known. Machines of this type include the IBM
        PARTITIONING ON LARGE-SCALE                                 Power-4 and the PA 8800. Typically, each processor on these
      MULTITHREADED, MULTIPROCESSOR                                 integrated circuits has its own dedicated Set of execution unit
               INTEGRATED CIRCUITS                                  pipelines and cache. Their die area, and therefore cost, for
                                                                    execution units is therefore typically much greater than with
                                                                    a timeshared multithreaded machine. These SuperScalar
               FIELD OF THE INVENTION                               multiple-processor circuits are also capable of executing
   The invention pertains to the field of design and packag         multiple threads and can be regarded as a form of high
ing of large, complex, integrated circuits Such as multipro         performance multithreaded machine.
ceSSor circuits. In particular, the invention relates to an            Modern processor integrated circuits are frequently fab
apparatus and method for dynamically repartitioning Mul             ricated with cache memory. Cache memory offerS Substan
tiple CPU integrated circuits so that critical-path threads         tially faster access than main memory; but offers that fast
                                                                    access only for information found in the cache. Memory
may receive needed resources and System performance may 15 references that are found in cache are called “hits” in the
thereby be optimized.
                                                                   cache, while references not found in cache are called cache
           BACKGROUND OF THE INVENTION                             “misses.” The ratio of cache hits to total memory references
                                                                   is the "hit rate,” and is known to be a function of cache Size,
   Modern integrated processor circuits of high performance cache architecture including the number of “ways of asso
are fabricated with at least Some cache memory on the ciativity of the cache, and the nature of the executing thread.
processor integrated circuit. Typically cache is designed as          It is known that cache hit rates can be measured by using
multiple blocks of memory cells, together with control logic. counters to count cache hits and memory references. Such
Some of these circuits have been designed with bonding counters can be read and a hit rate computed. It is also
options Such that a portion of cache may be disabled; a known that a low hit rate can drastically impair System
technique that permits product differentiation as well as Sale 25 performance.
of partially defective circuits. Some of these circuits also          It is known that Some threads require larger cache Size to
have spare blocks of memory that can be substituted for achieve
defective Sections of cache. Typically cache is designed as processorhigh          hit rates than others. It is also known that
                                                                               performance   can be adversely affected, Sometimes
multiple blocks of memory cells, together with control logic. Seriously, by a low hit rate      in cache. It is therefore necessary
   Much modern Software is written to take advantage of to provide Sufficient cache to Support high hit rates for all or
multiple processor machines. This Software typically is most threads if maximum processor performance is to be
written to use multiple threads. Each thread has a Sequence attained. Large cache Sizes are, however, expensive. Manu
of instructions that can be independently Scheduled for facturers therefore market integrated circuits having similar
execution. Typically, at any given time Some threads may be 35 processors with different cache sizes to different markets
in a “wait” mode, where execution is delayed until Some where application programs, and cache requirements, are
other thread completes an action or an external event occurs, expected to differ.
while other threads may be ready for execution.                       Cache of multiple processor integrated circuits is typically
   Software is also frequently able to prioritize those threads, limited in Size by processing costs. Large integrated circuits
determining which thread should receive the most resources 40 typically have fabrication cost that is an exponential func
at a particular time. For example, the Windows 2000 tion of their circuit area, and in Some circuits as much as half
(trademark of Microsoft), VMS (trademark of Compaq of the integrated circuit area is cache and cache memory
Computer), and UNIX operating Systems all maintain thread control circuitry.
priorities, which are often derived from an administrator-Set         Multiple-processor integrated circuits typically have pre
base priority. These operating Systems use these priorities to 45 determined amounts of cache allocated to each processor.
determine which threads should execute, and to determine           These circuits therefore typically require an amount of total
an amount of time each thread should execute before it is          cache equal to the number of processors multiplied by the
preempted by another thread.                                       cache required to achieve a high hit rate on the most cache
   In a multiple processor machine, each processor may be intensive thread expected to run.
tasked with executing different threads from among those 50 Multiple-processor and multithreaded machines are
threads that are ready for execution. These threads may known that are capable of simultaneously executing multiple
belong to the same, or a different, application program, or operating Systems. These are partitionable machines.
may be associated with System taskS. Such machines are Typically, each operating System is run on a partition, where
often capable of doing more useful work than machines a partition is assigned one or more processors, Suitable
having a single processor.                                      55 Sections of main memory, and other System resources. Each
   Multithreaded processors are those that have more than partition is typically configured as a virtual machine, which
one instruction counter, typically have a register Set associ may have dedicated disk space or may share disk space with
ated with each instruction counter, and are capable of other partitions. Machines exist that are capable of running
executing more than one instruction Stream. For example, Windows NT (Trademark of Microsoft) in one partition,
machines are known wherein a single pipelined execution 60 while running UNIX in another partition. Machines also
unit is timeshared among Several instruction Streams. Since exist that are capable of Simultaneously running Several
the execution unit is timeshared, each instruction Stream          copies of the same operating System with each copy running
tends to execute somewhat slowly. Multithreaded machines independently in a separate partition. These machines are
with a timeshared, Single, execution unit appear to Software advantageous in that each partition may be dedicated to
as multiple, independent, processors.                           65 particular users and applications, and problems (including
   Machines of SuperScalar performance, having multiple System crashes) that arise in one partition need not adversely
processors on Single integrated circuits, where each proces affect operation in other partitions.
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                                                    US 6,871,264 B2
                              3                                                                 4
   It is known that execution time on multiple-processor and         FIG. 2, a block diagram of a cache System having multiple
multithreaded machines may be billed according to the             blocks of dynamically allocated cache, for use in a multiple
number of processors, the amount of memory, and the               processor integrated circuit; and
amount of disk space assigned to each partition. It is also          FIG. 3, a flow chart illustrating allocation of cache
known that one or more multiple-processor or multithreaded        memory on a System utilizing the integrated circuit, and
integrated circuits may be used as processors in partitionable    billing of processor time thereon.
machines.
Nature of the Problem                                                       DETAILED DESCRIPTION OF THE
                                                                                    EMBODIMENTS
   It would be advantageous to dynamically allocate cache to
processors on a multiple processor integrated circuit, includ 1O A partitionable multiple-processor integrated circuit 98
ing on Such integrated circuits that are parts of partitionable (FIG. 1) has several processors 100. Each processor per
machines, So as to provide an amount of cache appropriate forms memory references for instructions data through a first
to each thread, or partition, executing on the System.          level cache 102. Those references that miss in first level
           SUMMARY OF THE INVENTION                               cache are directed to second level cache controllers 110.
   A high performance multiple-processor integrated circuit 15 Each second level cache controller 110 is coupled to a
has multiple cache units and multiple instruction fetch and high-speed      interconnect 120. High-speed interconnect 120
                                                                allows the second level cache controllers 110 to each access
decode units, where each instruction fetch and decode unit
is associated with a real or virtual processor. The integrated one or more of a plurality of cache memory blockS 122 and
circuit also has at least one dynamically allocable cache unit, 124. Of these memory blocks, at least one is an allocable
and may have additional cache units that are directly con cache memory block 124 that may be allocated to any cache
nected to particular processors.                                controller 110. There may, but need not, be one or more
   The integrated circuit also has high-speed interconnect cache memory blocks 122 for which allocation is fixed.
that permits use of the dynamically allocable cache units by Allocation controller 130 determines which, if any, of the
more than one real or virtual processor, and a cache alloca dynamically allocated cache memory blockS 124 is accessed
tion register. Fields of the cache allocation register deter 25 by each cache controller 110. Partition control 132 operates
mine which real or virtual processor is permitted to acceSS to determine which processors are associated with each
the dynamically allocable cache units.                          System partition. Partition control 132 and allocation con
   In an embodiment, the dynamically allocable cache units troller 130 therefore together determine the second level
form part of the second level of cache in the system. In this cache controller 110, processor 100, and system partition
embodiment there are four processors, four fixed-size first each allocable cache memory block 122 and 124 is associ
level caches each associated with a processor, four fixed ated with.
allocation Second-level cache blocks, and four dynamically         Cache references that are not located in first level cache
allocable Second-level cache blockS.
                                                                  102, and not located in Second level cache, are directed
   The Second level cache System is instrumented with through a memory interface 140 to off-chip main memory
hit-rate monitoring apparatus associated with each proces 35 (not shown).
Sor. An operating System driver monitors the hit-rate asso          In an alternative embodiment of the integrated circuit 196,
ciated with each processor and tracks hit rates. Monitored hit each    dynamically allocated cache memory block 198 (FIG.
rates are useful to determine which threads partitions may 2) incorporates          data memory 200, tag memory 202, and an
benefit from having additional cache assigned to them.           interface 204   to interconnect 206. Each cache controller 210
   In a particular embodiment, the dynamically-allocable
Second-level cache blocks are assigned to processors of a 40 has      an interface 212 for receiving memory references that
                                                                 miss in lower level cache. Each cache controller 210 also has
particular partition of a partitionable machine. Machine time
on this machine is billed according to how much dynami cache control logic as known in the art, including a write
cally allocated cache is allocated to each partition. In this back queue 214 for tracking cache writes and controlling
embodiment, dynamically allocated cache is assigned at writeback to main memory or higher level cache through
boot time or when partitions are reconfigured; partitions may 45 upper level memory interface 215, as well as tag logic 218
be reconfigured according to a Schedule as well as at boot and hit logic 216 for determining those references that are
time.                                                            located in cache. Each cache controller also incorporates hit
   In an alternative, fine grained, embodiment, each thread is rate monitor logic 219 for measuring cache performance
asSociated with a requested cache allotment. In this including               hit rate. The cache controller 210 has local tag
                                                                 memory 220 and data memory 222. Tag memory 220 and
embodiment, dynamically allocated cache blocks are real 50 data        memory 222 are Sufficiently large that they can provide
located at context Switch time Such that performance is
optimized. In this embodiment, the operating System may a high hit rate for Some instruction Streams that have Small
track hit rates associated with each thread as achieved with     cache requirements.
previously assigned cache allotments, and Set the requested         Cache controllers 210 connect to interconnect 206, which
cache allotment according to an optimum cache Size for each 55 allows them to communicate with dynamically allocated
thread.                                                          cache memory blocks 198 under control of allocation con
   When the dynamically allocated cache is deassigned from trol 230. Allocation control 230 and interconnect 206 is
one partition, or thread, and assigned to another, it is first configured by Software to connect Zero, one, or more
purged by writing all "dirty' cache lines to memory, and dynamically allocated cache memory blocks 198 to each
clearing a “valid’ bit for each cache line. In this way, the 60 cache    controller 210. Each dynamically allocated cache
cache is made effectively empty to ensure that data associ memory block 198 may only be accessed by only one cache
ated with one partition is not available to another partition. controller 210 at any given time.
      BRIEF DESCRIPTION OF THE DRAWINGS
                                                                    In an alternative embodiment, each cache controller 110
                                                             is provided with Sufficient tag in the cache controller to
   FIG. 1 is a block diagram of a multiple-processor inte 65 control as many as four cache memory blockS 122 and 124.
grated circuit having multiple blocks of dynamically allo In this embodiment, dynamically allocated cache memory
cable cache;                                                 blocks 124 contain cache data memory.
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                             S                                                                   6
  A method 300 (FIG. 3) for managing a computer system              wherein the cache memory blocks are usable by the cache
built around one or more of the multiprocessor integrated              controllers to Store data and instructions fetched from a
circuits 98 (FIG. 1), includes monitoring 302 (FIG. 3) cache            random-access memory.
performance. Monitoring makes use of the hit rate monitor            2. The processor integrated circuit of claim 1, further
219 shown on FIG. 2, and such other cache performance 5 comprising a plurality of first level cache Systems, wherein
monitor apparatus as may be incorporated into the integrated the first processor fetches instructions and accesses data
circuits, to make a record of past cache performance of from the first cache controller through a first first level cache
partitions, applications, and prior cache allocation. This System,          and wherein the Second processor fetches instruc
                                                                  tions and accesses data from the Second cache controller
record of past performance under various conditions is used through         a Second first level cache System.
to determine 304 a desired System partitioning taking into           3. The processor integrated circuit of claim 1, wherein the
account cache availability on the one or more multiprocessor cache        memory blocks further comprise cache tag memory.
integrated circuits 98. In a particular embodiment, the vol          4. The processor integrated circuit of claim 1, wherein
ume of past interprocessor communications is also consid each
ered in determining which processors to place in each toringcache               controller is provided with cache hit rate moni
                                                                          apparatus.
System partition. The determined partitioning is configured 15 5. A method of dynamically allocating cache on a
306 into a partition allocation table.                            multiple-processor integrated circuit, where the multiple
   The System is repartitioned each time it is booted, and is processor integrated circuit is used in a partitionable
also capable of being dynamically repartitioned at other multiple-processor System and comprises:
times when repartitoning is appropriate to improve overall           a plurality of processors each coupled to receive instruc
System performance. Repartitioning requires that any run                tions from a first level cache associated there with,
ning operating System in each affected partition be stopped          a plurality of allocable upper level cache memory blocks,
308. The processors 100 of each integrated circuit 98 are               interconnect apparatus for transmitting cache misses at
assigned 310 to partitions according to the partition alloca            each first level cache to upper level cache memory
tion table. Then, the dynamically allocable cache blocks 124            blocks assigned thereto, and
are assigned 312 to processors 100 of each partition accord 25 allocation apparatus for assigning upper level cache
ing to the partition allocation table. Next, the operating              memory blocks to processors,
Systems for each partition are booted, or restarted, 314, and        the method comprising the Steps of:
billing records are maintained 316 of machine time, System           monitoring past cache performance associated with pro
partitioning, and cache allocation. These billing records               ceSSorS and partitions,
permit charging customers according to the number of                 determining desired processor to partition and upper level
processors and amount of cache assigned to their applica                cache block allocations to processors, and
tions.                                                               repartitioning the System, the Step of repartitioning the
   While the invention has been particularly shown and                  System including allocation of upper level cache blockS
described with reference to particular embodiments thereof, 35          to processors of at least one of the multiple processor
it will be understood by those skilled in the art that various          integrated circuits,
other changes in the form and details may be made without            wherein the upper level cache blocks are usable to Store
departing from the Spirit and Scope of the invention. It is to          data and instructions fetched from a random-access
be understood that various changes may be made in adapting              main memory.
the invention to different embodiments without departing 40 6. The method of claim 5, wherein the upper level cache
from the broader inventive concepts disclosed herein and blocks are Second level cache blockS.
comprehended by the claims that follow.                              7. The method of claim 5, further comprising the step of
   What is claimed is:                                            billing customers according to processor time and allocated
    1. A processor integrated circuit capable of executing cache.
more than one instruction Stream comprising:                   45
                                                                     8. The method of claim 5, wherein the multiple processor
   a first processor, coupled to fetch instructions and acceSS integrated circuit further comprises a plurality of non
       data through a first cache controller,                     allocable cache memory blockS.
   a Second processor, coupled to fetch instructions and apparatus   9. The method of claim 5, wherein the interconnect
       acceSS data through a Second cache controller;                         further comprises a plurality of upper level cache
   a plurality of cache memory blocks,                         50
                                                                  controllers,  and where each upper level cache controller is
                                                                  capable of controlling operation of the allocable cache
   a high-Speed interconnect coupling the plurality of cache memory blocks as a writeback cache.
       memory blocks to the first and Second cache controllers       10. The method of claim 5, wherein each upper level
       Such that at least one allocable cache memory block is allocable cache block further comprises tag memory and
       capable of being used by the first and Second cache cache data memory.
       controllers, and                                        55
                                                                     11. The method of claim 10, further comprising the steps
   a resource allocation controller coupled to determine an of Stopping execution of operating Systems in each partition,
       accessing cache memory controller Selected from the and restarting execution of operating Systems in each
       group consisting of the first and Second cache memory partition, and wherein the System is capable of being rep
       controllers, whereby the accessing cache memory con 60 artitioned without rebooting each operating System.
       troller is allowed to access the allocable cache memory
     block,                                                                              k   k   k   k   k
